      IT IS SO ORDERED.

      Dated: 28 May, 2019 01:19 PM




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  In re:   CAREY RICHARD RODDY SR              ) Case No. 18-17484-jps
                                               ) Chapter 13 Proceedings
            Debtor(s)                          ) Judge Jessica E. Price Smith

                                 CONFIRMATION ORDER


The Chapter 13 plan in this case came on for confirmation at a hearing before the Court.
A copy of such plan, together with the applicable amendments or modifications (the
''Plan''), is attached to this Order. Based upon the papers filed in this case, information
presented by the Chapter 13 Trustee (''Trustee'') and such other matters, if any,
presented by the Debtor or Debtors (''Debtor''), Debtors' counsel, any objector or any
other interested party, the Court finds that:

     1.    Notice of the confirmation hearing was duly given.

     2.    The Plan complies with applicable requirements of 11 U.S.C.
           §§ 1322 and 1325.

     3.    Any and all objections filed by the Trustee have been resolved.




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IT IS THEREFORE ORDERED THAT:

   1.   The Plan is confirmed.

   2.   The Debtors shall, until further order of the Court, make the
        periodic payments called for in the Plan to the Trustee. Except
        as otherwise permitted, such payments shall be made pursuant
        to order of the Court on the Debtors' employer.

   3.   The Debtors shall not incur additional debt exceeding $1,000 in
        the aggregate without notice to the Trustee and the approval of
        the Court.

   4.   The Debtors shall not transfer any interest in real property
        without the approval of the Court.

   5.   Unless the Plan provides otherwise in Part 2.3 or Part 8, the
        Debtors shall pay over to the Trustee each year during the
        pendency of the case any and all federal income tax refunds.
        The Debtors may retain from any federal income tax refund
        either $1,000 from a single tax return ($2,000 from a joint tax
        return) or the sum of any earned income tax credit and child tax
        credits, whichever is greater.

   6.   Secured creditors shall retain their liens. If this case is either
        dismissed or converted to a Chapter 7 case, the property vesting
        in the Debtors by reason of this Confirmation Order shall remain
        subject to the liens existing at the time of the filing of the case
        subject to adjustments in respect of amounts paid under the
        Plan.

   7.   After confirmation of the Plan, funds available for distribution will
        be paid monthly by the Trustee in the following order:
        (i) Trustee's authorized percentage fee and/or administrative
        expenses; (ii) attorney's fees as allowed under applicable rules
        and guidelines; (iii) conduit payments as provided for in Part 3.1;
        (iv) monthly payments on mortgage arrearages as provided for
        in Part 3.1 and monthly payments on claims as provided for in
        Parts 3.2, 3.3, 3.4 and, if so specified, Part 6.1 (if no fixed
        payment on an executory contract arrearage is specified, then
        the arrearage will be paid on a pro rata basis); (v) payments to
        priority creditors as provided for in Part 4, to be made on a pro
        rata basis; and (vi) general unsecured claims.


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     8.     Any creditor seeking to file an unsecured deficiency claim as a
            result of collateral surrendered in Part 3.5 must do so no later
            than 90 days after this Confirmation Order is entered. If the
            collateral has not been liquidated, the deficiency claim is to be
            estimated.

     9.     The attorney for the Debtors is allowed a fee of $3,000.00, of
            which $800.00 has been paid. The balance of $2,200.00 shall
            be paid by the Trustee from the monies received under the Plan
            over 12 months, unless a longer period is needed because the
            plan payment is too small to allow for payment over 12 months.

     10.    The administrative expenses of the Trustee shall be paid in full
            pursuant to 11 U.S.C. §§ 503(b) and 1326(b)(2) and 28 U.S.C.
            § 586(e)(1)(B).

     11.    If the case is dismissed by the Court or by the Debtors under
            11 U.S.C. § 1307, all funds remaining in the hands of the
            Trustee at the time of dismissal shall be paid to the Chapter 13
            creditors pursuant to the terms of the Plan. If the case is
            converted to Chapter 7 under 11 U.S.C. § 1307, all funds
            remaining in the hands of the Trustee at the time of conversion
            shall be returned to the Debtors after deducting the Trustee's
            authorized percentage fee.

     12.    A debtor may request entry of an order declaring that a secured
            claim has been satisfied and that the lien has been released
            under the terms of the confirmed plan by filing and serving a
            motion under Bankruptcy Rule 5009(d), generally at the time the
            case is being closed. See 2017 Committee Note to Bankruptcy
            Rule 5009(d).


By submitting this form, the Trustee certifies that the wording of this form is identical in all
respects to the form confirmation order adopted by Judge Harris and Judge Price Smith
in a Memorandum dated January 17, 2018, and as modified in the memorandum dated
February 8, 2019.




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Submitted by:
/S/ Lauren A. Helbling
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                                      SERVICE LIST

Lauren A. Helbling, Chapter 13 Trustee
(served via ECF)

Office of the U.S. Trustee
(served via ECF)

MARK H KNEVEL, Attorney for Debtor(s)
(served via ECF)

CAREY RICHARD RODDY SR, Debtor(s)
115 FLORAL COURT
ELYRIA, OH 44035




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